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                 IN THE UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF OHIO
                           EASTERN DIVISION

ROOT, INC., et al.,                         : Case No.: 2:23-cv-00512

                               Plaintiffs, : Judge Sarah Morrison

      v.                                    :

BRINSON CALEB “BC” SILVER, et :
al.,
                               :
                   Defendants.

           MOTION FOR LEAVE TO EXECUTE SALE OF PROPERTY

      Pursuant to the Court’s Agreed Preliminary Injunction (ECF No. 42),

Defendants, Brinson Caleb “BC” Silver, Eclipse Home Design, LLC and Collateral

Damage, LLC (“Defendants”), were permitted to take commercially reasonable steps

towards securing the sale of certain properties. The Preliminary Injunction also

requires Defendants to provide copies of any proposed sale contract to all parties

and to obtain leave of Court before accepting any offer.        Consistent with the

Preliminary Injunction Eclipse has received an offer for the sale of the property

located at 13105 Biscayne Island Terrace, Miami, Florida 33181.

      Eclipse desires to accept the offer and provided a copy of the proposed

contract to the Court and all other parties. Counsel for Plaintiff Root indicates Root

does not object to the sale. Accordingly, Eclipse respectfully requests the Court

grant leave to complete the sale of the above referenced property, consistent with

the terms of the Preliminary Injunction.
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                                    Respectfully submitted,

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                                    Collateral Damage, LLC

                                    Approved by:

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                            CERTIFICATE OF SERVICE

         I hereby certify that on the 6th day of April 2023, a copy of the foregoing

was filed electronically. Notice of this filing will be sent to all parties by

operation of the Court’s electronic filing system. Parties may access this filing

through the Court’s system.

         A copy was also sent by ordinary U.S. Mail, postage prepaid, to the following:

         Paige McDaniel
         5576 Alexanders Lake Road
         Stockbridge, GA 30281

                                                /s/ Aaron M. Jones
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4884-9829-4609, v. 2




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